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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
             Plaintiff,                     )
                                            )
v.                                          )         Case No. CR-18-227-SLP
                                            )
JOSEPH MALDONADO-PASSAGE,                   )
                                            )
             Defendant.                     )

                                      ORDER

      Before the Court is Defendant’s Motion for Resentencing Hearing [Doc. No. 195].1

Defendant requests that the Court set Defendant’s resentencing between January 20-31,

2022 and that Defendant be transported to Oklahoma City pending his resentencing. Upon

review, the Court finds that the Motion should be granted and will set Defendant’s

resentencing to January 28, 2022.

      The Court also notes that Defendant complains about the delay in the setting of his

resentencing.2 However, much of the delay can be attributed to the fact that both parties

have filed several other motions, necessitating decisions by this Court in advance of the

resentencing. See, e.g., Def.’s Mot. Disqualification [Doc. No. 165]; Def.’s Mot. Relief



1
 The Court previously set the government’s deadline to respond to the Motion to December
20, 2021. See Order [Doc. No. 196]. The government did not file a response.
2
  On July 14, 2021, the United States Court of Appeals for the Tenth Circuit vacated
Defendant’s sentence and remanded for resentencing. See Doc. Nos. 160-61. The mandate
[Doc. No. 162] was issued on August 5, 2021. Preparations for resentencing began in short
order. See, e.g., Enter Order [Doc. No. 163] (directing the filing of a Supplement to the
Final Presentence Investigation Report).
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Local Rule 57.3 [Doc. No. 166]; Order [Doc. No. 168] (requiring Defendant to associate

with local counsel); Order [Doc. No. 181] (denying Defendant’s disqualification motion);

United States’ Mot. Stay Resentencing Proceedings [Doc. No. 184]; Order [Doc. No. 186]

(denying the government’s motion to stay); United States’ Mot. Unseal Sentencing Mem.,

Attachments, Resp. [Doc. No. 188]; Order [Doc. No. 191] (denying the government’s

motion to unseal); United States’ Renewed Mot. Unseal Sentencing Mem., Attachments,

Resp. [Doc. No. 192].

      IT IS THEREFORE ORDERED that Defendant’s Motion for Resentencing Hearing

[Doc. No. 195] is GRANTED IN PART. The Court sets Defendant’s resentencing to 10:00

A.M. on January 28, 2022.

      IT IS SO ORDERED this 3rd day of January, 2022.




                                           2
